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                 UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF MAINE
 _____________________________________
                                        )
 BRETT BABER, et al.                    )
                                        )
                   Plaintiffs,          )
                                        )
 v.                                     ) Case No. 1:18-cv-00465-LEW
                                        )
 MATTHEW DUNLAP, Secretary of the       )
 State of Maine.                        )
                                        )
                                        )
                   Defendant.           )
 _____________________________________ )


 PLAINTIFFS’ UNOPPOSED MOTION TO EXPEDITE BRIEFING AND ARGUMENT
   SCHEDULE WITH RESPECT TO MOTION FOR PRELIMINARY INJUNCTION

       Plaintiffs Brett Baber, Terry Hamm-Morris, Mary Hartt, and Bruce Poliquin, by and

through counsel, hereby submit the following unopposed motion to expedite the briefing and

argument schedule with respect to their previously-filed Motion for Preliminary Injunction. In

further support thereof, Plaintiffs state as follows:

        On November 13, 2018, Plaintiffs filed their Complaint [ECF No. 1] as well as a Motion

for Preliminary Injunction [ECF No. 3] and supporting materials [ECF No. 4]. The Court set a

deadline of December 4, 2018, for the Defendant and for the Intervenors to file briefs in opposition

to the motion.

        Plaintiffs thereafter filed a Motion for a Temporary Restraining Order (“TRO”) [ECF No.

13], and on November 14, 2018 the Court held a hearing on same. Earlier today, this Court entered

an Order (the “Order”) [ECF No. 26] denying Plaintiffs’ request for a TRO. The Court’s Order

further indicated that the case will proceed in the normal course.
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       Shortly after the Court entered its Order, Defendant Dunlap and his staff finalized the ballot

count under Maine’s ranked-choice voting scheme. According to the “Summary Report” that

resulted from the final tabulation, Plaintiff Poliquin won the first round of voting by a margin of

46.41% to 45.48%, but by operation of the ranked-choice voting scheme Intervenor Golden won

the second round by a margin of 50.53% to 49.47%.

       As discussed during the TRO hearing, following the final tabulation of votes, Maine law

directs the Governor to issue an election certificate within a “reasonable time.” 21-A M.R.S. §

724.   According to the letter from Karen Haas (Clerk of the United States House of

Representatives) to Melissa Packard (Director of the Elections Division of Maine’s Bureau of

Corporations, Elections, and Commissions) submitted as Exhibit D to the Affidavit of Julie Flynn

(ECF No. 24-4), the United States House of Representatives has requested the original election

certificate by December 14, 2018.

       In light thereof, Plaintiffs respectfully request that the Court enter a truncated briefing and

argument schedule with respect to their Motion for Preliminary Injunction, so that same may be

fully briefed and argued prior to December 14, 2018. Plaintiffs propose that the Court amend the

briefing and argument schedule as follows:

           •   All briefs in opposition to Plaintiffs’ Motion for Summary Judgment to be filed by

               November 28, 2018 by 5:00 p.m.;

           •   Plaintiffs reply brief to be filed by December 2, 2018 by 5:00 p.m.; and

           •   A hearing to be held with respect to the motion on December 3, 4, or 5, depending

               on the Court’s availability.

       Undersigned counsel has been in contact with Assistant Attorney General Phyllis Gardiner

(counsel for Defendant Dunlap), Attorney Peter Brann (counsel for Intervenor Golden), and
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Attorney James Monteleone (counsel for Intervenors Bond, Wollstadt and Michaud) regarding the

within Motion, each of whom have indicated that they do not have any opposition thereto.

       WHEREFORE, Plaintiffs respectfully request that the Court GRANT the within Motion

and enter the truncated briefing and argument schedule as set forth above.

DATED: November 15, 2018                            Respectfully submitted,


                                                    /s/ Lee E. Goodman

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                                  CERTIFICATE OF SERVICE


       I hereby certify that on November 15, 2018, I electronically filed the foregoing document

entitled Plaintiffs’ Unopposed Motion to Expedite Briefing and Argument Schedule With Respect

to Motion for Preliminary Injunction via the Court’s CM/ECF system, which will send

notification of such filing to all counsel of record.

DATED: November 15, 2018



                                                           /s/ Joshua A. Randlett
                                                           Joshua A. Randlett, Esq.
